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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                  CRIMINAL NO. 1:14CR78-5
                                                (Judge Keeley)


 CARAUN LYNN MONTEZ KEY,

                   Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On   January   21,    2015,   defendant,   Caraun   Lynn   Montez    Key

 (“Key”), appeared before United States Magistrate Judge John S.

 Kaull and moved for permission to enter a plea of GUILTY to Count

 Two of the Indictment. Key stated that he understood that the

 magistrate judge is not a United States District Judge, and

 consented to pleading before the magistrate judge.           This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of   administering    the   allocution   pursuant    to   Federal   Rule   of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

       Based upon Key’s statements during the plea hearing and the

 testimony of Sergeant Todd Forbes, the magistrate judge found that

 Key was competent to enter a plea, that the plea was freely and

 voluntarily given, that he was aware of the nature of the charge
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 against him and the consequences of his plea, and that a factual

 basis existed for the tendered plea. On January 21, 2015, the

 magistrate judge entered an Opinion/Report and Recommendation

 Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 98)

 finding a factual basis for the plea and recommending that this

 Court accept Key’s plea of guilty to Count Two of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. Following

 this, the parties did not file any objections.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Key’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Two of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.




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       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The    Probation     Officer     undertake       a        presentence

 investigation of CARAUN LYNN MONTEZ KEY, and prepare a presentence

 report for the Court;

       2.    The Government and Key are to provide their versions of

 the offense to the probation officer by February 23, 2015;

       3.    The presentence report is to be disclosed to Key, defense

 counsel, and the United States on or before March 27, 2015;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before April 8, 2015;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before April 20, 2015; and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual    basis   from   the   statements   or   motions,       on    or   before

 April 28, 2015.




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       The magistrate judge remanded Key to the custody of the United

 States Marshal Service.

       The   Court   will   conduct    the   sentencing   hearing    for   the

 defendant on Friday, May 1, 2015 at 2:30 P.M. at the Clarksburg,

 West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: February 9, 2015


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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